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  1   Douglas L. Johnson (SBN 209216)
      Jennifer J. McGrath (SBN 211388)
  2   Robert Paredes (SBN 255329)
      JOHNSON & JOHNSON LLP
  3   439 North Canon Drive, Suite 200
  4   Beverly Hills, California 90210
      Telephone: (310) 975-1080
  5   Facsimile: (310) 975-1095
      Email:       djohnson@jjllplaw.com
  6                jmcrath@jjllplaw.com
  7                rparedes@jjllplaw.com

  8
      Attorneys for Defendant
  9   QWorldstar, Inc.
 10
 11                      UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
 12
 13   JUKIN MEDIA, INC., a California            CASE NO.: 2:16-cv-6800-JFW(SSx)
      corporation
 14
                   Plaintiffs,
 15                                               DECLARATION OF ROBERT
                   v.                             PAREDES RE: ORDER TO SHOW
 16                                               CAUSE WHY SANCTIONS
      QWORLDSTAR, INC., a California              SHOULD NOT BE IMPOSED FOR
 17
      corporation, d/b/a Worldstar, Worldstar Hip FAILURE TO FILE A PROPOSED
 18   Hop, Worldstar Candy; and DOES 1            STATEMENT OF DECISION
      through 10,
 19
                                                 Hon. John F. Walter
 20               Defendants.                    Magistrate Judge Suzanne H. Segal
 21                                              Date:       n/a
 22                                              Time:       n/a
                                                 Location:   Courtroom 7A
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                   DECLARATION OF ROBERT PAREDES RE: ORDER TO SHOW CAUSE
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  1                      DECLARATION OF ROBERT PAREDES
  2         I, Robert Paredes, declare as follows:
  3         1.     I am an associate in Johnson & Johnson LLP (the “Firm”), attorneys
  4   and general counsel for defendant, QWorldstar, Inc. (“Worldstar”). I am licensed
  5   to practice law in the State of California and have been admitted to practice before
  6   this Court. I have personal knowledge of the facts contained herein, and if called
  7   upon to testify, I could and would competently do so.
  8         2.     I make this Declaration in response to the Court’s June 16, 2016 Order
  9   to Show Cause re failure to file a Statement of Decision pursuant to paragraph 5(f)
 10   of the Court’s Standing Order (Dkt. No. 50.)
 11         3.     On May 19, 2017, the Firm filed Defendant’s Motion to Amend
 12   Scheduling Order (the “Motion”) (Dkt. No. 43). The Firm concurrently filed a
 13   [Proposed] Order Granting Defendant’s Motion to Amend Scheduling Order. (Dkt.
 14   43-11). (A true copy of the [Proposed] Order is attached hereto as Exhibit “1.”)
 15         4.     It was not my intention to violate the Court’s Standing Order. Indeed,
 16   I erroneously believed that the Proposed Order filed with the Motion complied with
 17   the Court’s Standing Order that the parties file a “Proposed Statement of
 18   Decision… in a form that would be appropriate for the Court to enter as its final
 19   order in the motion” (Dkt. No. 13).
 20         5.     To cure my inadvertent error, the Firm has prepared and filed a
 21   [Proposed] Statement of Decision that complies with the Standing Order’s
 22   requirements (Dkt. No. 51).
 23         6.     I apologize to the Court for my error and I would ask that neither the
 24   Firm nor Worldstar be prejudiced by my error.
 25   ///
 26   ///
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                 DECLARATION OF ROBERT PAREDES RE: ORDER TO SHOW CAUSE
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  1         I declare under penalty of perjury under the laws of the United States of
  2   America that the foregoing is true and correct, to the best of my knowledge.
  3   Executed this 20th day of June, 2017 at Beverly Hills, California.
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  5                                          By /s/ Robert Paredes
  6                                             Robert Paredes

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               DECLARATION OF ROBERT PAREDES RE: ORDER TO SHOW CAUSE
